Case 1:13-cv-01481-AJT-JFA Document 53-7 Filed 07/25/14 Page 1 of 49 PageID# 1095



                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
  CHIRAG SHAH,                        |
                                      |
        Plaintiff,                    |
                                      |
        vs.                           |   Civil Action No. 1:13CV1481 AJT/JFA
                                      |
  SOUTHWEST AIRLINES, et al.,         |
                                      |
        Defendants.                   |
  ___________________________________ |

                      DECLARATION OF JONATHAN M. STERN


        1.    My name is Jonathan Michael Stern. I am lead counsel for Southwest Airlines Co.
              in this case.

        2.    I am a member in good standing of the bars of this Court, Virginia, and
              approximately 12 other state and federal courts, including the Supreme Court of
              the United States and the United States Court of Appeals for the Fourth Circuit.

        3.    In mid-March of this year, I initiated discussions with Mr. Breeden, one of the
              four lawyers representing the plaintiff in this case, about the need to involve the
              Transportation Security Administration (“TSA”) early in the process if he wished
              to have TSA review documents Southwest would be withholding from production
              because they contained Sensitive Security Information (“SSI”) for possible
              removal from the SSI categorization.

        4.    I told Mr. Breeden that Southwest would voluntarily provide all documents it
              would withhold from production on the basis of containing SSI to TSA for review
              for this purpose and invited him to identify a contact at TSA to receive them. This
              was confirmed in a March 24, 2014, letter, a true copy of which is attached as
              Exhibit 1, that I emailed to Mr. Breeden.

        5.    On April 4, 2014, Mr. Breeden called me to discuss deposition scheduling and
              TSA review of the SSI. On the latter topic, Mr. Breeden said it was his
              understanding that a court order directing TSA to undertake the review would be
              necessary.

        6.    Later that day, Mr. Breeden emailed me a draft of a proposed Consent Order. A
              true copy of his email and its attachment are attached as Exhibit 2.

        7.    It did not make sense to me that TSA review of SSI designations should require a
              court order if we both agreed to the review, so I ran the issue by a TSA lawyer
              with whom I happened to be attending a conference in Dallas that day. That
              lawyer suggested I email a colleague of his, Emily H. Su, the Assistant Chief


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              Counsel, Civil Enforcement, Transportation Security Administration, which I did.
              A true copy of a string of emails between Ms. Su and me from April 4, to April 8,
              2014 is attached as Exhibit 3.

        8.    In the first email, I explained:

              I represent an air carrier in litigation in the Eastern District of Virginia. The
              plaintiff requested production of documents, many of which are SSI. Both sides
              are amenable to submitting the withheld documents to TSA for review to
              determine whether any of the documents may be produced to plaintiff. Plaintiff’s
              counsel advised me that he was told TSA will need a court order in order to
              undertake the review. That struck me as odd, therefore my conversation with
              Richard and this email.

              Would you please advise whether we may submit the documents to TSA for
              review without first obtaining a court order.

        9.    In her response on April 7th, Ms. Su wrote:

              Did the plaintiff cite any reason for why TSA would need a court order to review
              SSI documents? Are these documents limited in scope to documents that exist
              between TSA and the air carrier? If so, I can’t think of any reason why TSA
              would need a court order to review them. Even if they are proprietary SSI
              documents that the air carrier created, if both parties agree to submit to the review
              (or if they are related to compliance), TSA would not need a court order. Perhaps
              I’m missing something?

              Feel free to email me any additional information you think might be helpful. Once
              I have more information, I’ll check with a few of our other offices to confirm our
              thinking.

        10.   That day, I emailed a letter to Mr. Breeden to share what I had learned. A true
              copy of the letter is attached as Exhibit 4. It included:

              [M]y contact at the Transportation Security Administration questions the need for
              a court order to initiate review of Southwest’s sensitive security information. She
              is confirming the information, after which we will submit the withheld SSI
              documents for the review. I will keep you apprised and let you know if, contrary
              to initial indications, the court order is necessary.

        11.   On April 8th, I responded to Ms. Su’s April 7th email. My response included:

              Thank you, Emily. The documents are manual provisions and training documents
              (PDF, PowerPoint, and video) that are designated as SSI. No reason was given by
              Plaintiff’s counsel for the court order, but he said that he was told by someone
              from TSA that a court order was required, which made no sense to me.




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        12.   That same day, I received an email from Kathleen C. Gannon, Attorney-Advisor,
              Office of Chief Counsel, Transportation Security Administration. Her email is
              included in Exhibit 3. Ms. Gannon wrote:

              I am an attorney in the federal court litigation group in the Office of Chief
              Counsel at TSA. The matter discussed below has been referred to me for
              coordination of the SSI review. As you thought, there is no need for a court order
              before TSA performs the SSI review. Indeed, covered parties are required by
              regulation to refer all such requests to TSA. See 49 C.F.R. § 1520.9(a)(3). Can
              you please provide additional information regarding the litigation (party names,
              case number), a list of the responsive materials that you think might constitute
              SSI, and contact information for plaintiff’s counsel? Once I have that
              information, I will send you a letter detailing the relevant SSI authorities and the
              process for this type of SSI review, with a copy to plaintiff’s counsel.

        13.   Within the hour, I responded:

              I am attaching the privilege log that we—on behalf of Southwest Airlines—
              served in the case, along with the objections we served to the requests for
              production of documents. Between these two documents, you will have the case
              caption, the parties, and the name and address for plaintiff’s counsel (Tom
              Breeden on the certificate of service).

              Please let me know if you need anything further from me, and I will look forward
              to receiving your letter.

        14.   On April 14th, Ms. Gannon emailed me (with a copy to Mr. Breeden) a letter
              explaining TSA’s authority to regulate SSI and the review process that would be
              undertaken. A true copy of the letter is attached as Exhibit 5. The letter (with
              emphasis added by bold font and underlining) cautioned against any illegal
              release of SSI, including to plaintiff’s counsel:

              As a general matter, SSI may only be disclosed to “covered persons who have a
              need to know, unless otherwise authorized in writing by TSA.” Id. § 1520.9(a)(2);
              see also U.S.C. § 114(r). For example, SSI may be released to individuals or
              entities (such as air carriers) to “carry out security activities approved, accepted,
              funded, recommended, or directed by DHS or DOT.” 49 C.F.R. § 1520.11(a)(1).
              The regulations impose on covered persons an express duty to protect the
              information. See id. § 1520.9. Specifically, the regulations require that such
              persons must “[t]ake reasonable steps to safeguard SSI … from unauthorized
              disclosure,” and “[r]efer requests by other persons for SSI to TSA or the
              applicable component or agency within DOT or DHS.” Id. Violation of these and
              additional non-disclosure requirements “is grounds for a civil penalty and other
              enforcement or corrective action.” Id. § 1520.17.

                                                *       *      *




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              Security programs, security measures, security training materials, as well as other
              information, constitute SSI. See 49 C.F.R. § 1520.5(b). Such information may not
              be disclosed to unauthorized persons in any way, including via documents or
              testimony. Plaintiff and his attorney are not “covered persons who have a need to
              know.” Id. § 1520.9(a)(2); see also id. § 1520.7 (defining “covered persons”).
              Southwest is prohibited from disclosing SSI to Plaintiff and his attorney
              without TSA’s express authorization.

        15.   Ms. Gannon’s letter also offered Mr. Breeden a procedure to gain access to SSI to
              prepare plaintiff’s case. In that respect, she wrote:

              If TSA determines that materials responsive to Plaintiff’s discovery requests
              contain SSI and Plaintiff believes that he has a substantial need for that SSI in the
              preparation of his case, his attorney may seek access pursuant to Section 525(d) of
              the Department of Homeland Security Appropriations Act, 2007, Pub. L. 109-
              295, § 525(d), 120 Stat. 1382 (Oct. 4, 2006), as reenacted, (“Section 525(d)”).
              Any such applications should be sent directly to me.

        16.   On April 17, 2014, I sent by overnight delivery a DVD containing the withheld
              SSI to Ms. Gannon at TSA. A true copy of the cover letter is attached as Exhibit
              6.

        17.   Ms. Gannon acknowledged receipt of the DVD by email dated April 22, 2014. A
              true copy of the email I received, on which Mr. Breeden was copied, is attached
              as Exhibit 7.

        18.   On June 2, 2014, Ms. Gannon emailed me to advise that the SSI review was
              taking longer than expected. “If there is a specific date by which you need the
              reviewed materials, that would be helpful to know so that we can allocate our
              resources accordingly,” Ms. Gannon wrote. A true copy of her email is attached
              as Exhibit 8.

        19.   Because Ms. Gannon had not copied Mr. Breeden on the email, I forwarded it to
              him that day with this note: “I received the below this morning. Shall I advise
              when our final pre-trial date is and ask if they can have it done before then?” A
              true copy of the email I sent to Mr. Breeden is attached as Exhibit 9.

        20.   Mr. Breeden responded, “Yes. That would probably be good. Thanks.” A true
              copy of Mr. Breeden’s email to me is attached as Exhibit 10.

        21.   With Mr. Breeden’s input in hand, I replied to Ms. Gannon’s email, advising “The
              final pre-trial conference in the case is June 19th. It would be helpful to all
              concerned to know before then what will and will not be available for use at trial.”
              Ms. Gannon replied shortly thereafter, “Thanks for your response. We will work
              to provide the reviewed materials to you in advance of the June 19th conference.”
              A true copy of the email string containing both emails is attached as Exhibit 11.




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         22.     On June 18, 2014, Ms. Gannon sent an email to me and Mr. Breeden (a true copy
                 of which is attached as Exhibit 12) in which she wrote:

                 TSA has been working diligently to complete the SSI review for this case in
                 advance of your final pre-trial conference tomorrow. Despite the agency’s best
                 efforts, at this point it seems unlikely that we will be able to provide you with
                 fully redacted versions of the SSI documents you submitted by tomorrow
                 morning. We will continue working to complete the review as soon as possible.
                 Please continue to keep us apprised of any relevant court deadlines, and we will
                 do our best to accommodate them. Please contact me if you have any questions.

  I declare under penalty of perjury that the foregoing is true and correct.


                                                ___________________________________
                                                Jonathan M. Stern
                                                Executed at Rockville, Maryland on July 23, 2014




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                                                     March 24, 2014
Jonathan M. Stern
Direct Dial 202-419-4202
Direct Fax 202-419-4252
E-mail: jstern@schnader.com




          VIA EMAIL – trb@breedenlaw.com
          Thomas R. Breeden, Esq.
          Thomas R. Breeden, PC
          10326 Lomond Drive
          Manassas, Virginia 20109

                    Re:       Chirag Shah v. Southwest Airlines, et al.
                              USDC for the Eastern District of Virginia
                              Civil Action No. 1:13-cv-1481 (AJT/JFA)

          Dear Mr. Breeden:

                          By separate email, we are producing documents in accordance with Southwest’s
          Responses to Plaintiff Chirag Shah’s First Request for Production of Documents. The documents
          are in a single PDF. The pages of the PDF are numbered SWA000001 through SWA000319. The
          PDF is large and, if it does not make it to you by email, let us know and we will provide it
          through a DropBox link.

                         The documents listed on the privilege log that have been collected are also
          assembled and numbered. The attached revised Privilege Log includes the associated Bates
          Numbers. Where there is a “D” in the # column, the documents were a duplicate of another listed
          document. As we discussed during our meet and confer last week, if you provide a contact at the
          Transportation Security Administration, we will be pleased to provide the documents designated
          as Sensitive Security Information to that person for the statutory review.

                                                                Sincerely,



                                                            Jonathan M. Stern
                                                  For SCHNADER HARRISON SEGAL & LEWIS LLP
          Attachment
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Stern, Jonathan M.

From:                          Thomas R. Breeden <trb@tbreedenlaw.com>
Sent:                          Friday, April 04, 2014 11:39 AM
To:                            Stern, Jonathan M.
Cc:                            Sanjay Sethi; Heather Damewood
Subject:                       Shah - sensitive security information
Attachments:                   draft oder for tsa review of sensistive security information.doc


Jon

Attached is a draft order regarding the TSA review of the sensitive security information. Please look it
over and let me know any revisions you may have. I will get back to you on the proposed dates for the
depositions of your witnesses.

Thanks and have a good weekend.

Tom

Thomas R. Breeden, P.C.
Attorneys and Counselors At Law
10326 Lomond Drive
Manassas, Virginia 20109
telephone (703) 361-9277
facsimile (703) 257-2259
www.tbreedenlaw.com

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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF VIRGINIA

                                         )
  CHIRAG SHAH,                           )
                                         )
        Plaintiff,                       ) Case No. 13-cv-1481 (AJT/JFA)
                                         )
  v.                                     )
                                         )
  SOUTHWEST AIRLINES, et al.             )
                                         )
        Defendants.                      )
                                         )


                                  CONSENT ORDER

        This matter comes before the Court on the agreement of the parties to have

  the court order review of sensitive security information. Plaintiff has submitted

  discovery requests to Defendant Southwest Airlines. Defendant Southwest Airlines

  has withheld certain responses, designating them as Sensitive Security Information

  pursuant to 49 C.F.R. §1520. The parties have agreed to have TSA review the

  designated material to determine whether the material designated may be

  disclosed.

        It is therefore Ordered that the Defendant shall submit the material

  designated as Sensitive Security Information to the TSA for review and

  determination as to whether it may be disclosed to Plaintiff.

        Entered this ___ day of April, 2014.

                                  _______________________________
                                        US District Court Judge




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  WE ASK FOR THIS:


  _________/s/__________________
  Thomas R. Breeden, VSB # 33410
  Thomas R. Breeden, P.C.
  10326 Lomond Drive
  Manassas, Virginia 20109
  Tel (703) 361-9277, facsimile (703) 257-2259
  trb@tbreedenlaw.com

  Reza Mazaheri, Esq.
  Sethi & Mazaheri, LLC
  9 Polifly Road, 2nd Floor
  Hackensack, NJ 07601
  201-606-2267
  Facsimile 201-595-0957
  mazaheri@sethimaz.com

  counsel for Plaintiff


  SEEN AND AGREED:


  _________/S/__________________
  Jonathan M. Stern (VSB# 41930)
  Schnader Harrison Segal & Lewis LLP
  750 Ninth Street, NW
  Suite 550
  Washington, DC 20001
  (202) 419-4202
  (202) 419-4252 fax
  jstern@schnader.com
  Counsel for Defendant




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Stern, Jonathan M.

From:                              Gannon, Kate <TSA OCC> <Kate.Gannon@tsa.dhs.gov>
Sent:                              Tuesday, April 08, 2014 6:08 PM
To:                                Stern, Jonathan M.
Subject:                           RE: SSI Review


T hankyou,Jon. I’llsend outthelettershortly.

From: Stern, Jonathan M. [mailto:JStern@Schnader.com]
Sent: Tuesday, April 08, 2014 2:01 PM
To: Gannon, Kate <TSA OCC>
Subject: RE: SSI Review

T hankyou,Kate.

Iam attachingtheprivilegelogthatw e— onbehalfofS outhw estAirlines— served inthecase,alongw iththeobjections
w eserved totherequestsforproductionofdocum ents.Betw eenthesetw odocum ents,you w illhavethecasecaption,
theparties,and thenam eand addressforplaintiff’scounsel(T om Breedenonthecertificateofservice).

P leaseletm eknow ifyou need anythingfurtherfrom m e,and Iw illlookforw ardtoreceivingyourletter.

Bestregards,

Jon

JonathanM .S tern
Counsel,M anaging Attorney,W ashington,DC O ffice
Adm itted inDC,M D,P A,& VA
S chnaderHarrisonS egal& L ew isL L P
      th
750 9 S treet,N W ,S uite550
W ashington,DC 20001-4534
 202.419.4202
301-529-3671
Fax 202.419.4252
 jstern@ schnader.com
w w w .schnader.com




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disclosethecontents,send areply em ailadvisingoftheerror,and deleteallcopiesfrom yourcom putersystem .T hankyou.


From: Gannon, Kate <TSA OCC> [mailto:Kate.Gannon@tsa.dhs.gov]
Sent: Tuesday, April 08, 2014 1:19 PM
To: Stern, Jonathan M.
Subject: RE: SSI Review

Jon,



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Iam anattorney inthefederalcourtlitigationgroupintheO fficeofChiefCounselatT S A. T hem atterdiscussed below
hasbeenreferredtom eforcoordinationoftheS S Ireview . Asyou thought,thereisnoneedforacourtorderbefore
T S A perform stheS S Ireview . Indeed,covered partiesarerequired by regulationtoreferallsuchrequeststoT S A. S ee
49 C.F.R .§ 1520.9(a)(3). Canyou pleaseprovideadditionalinform ationregardingthelitigation(party nam es,case
num ber),alistoftheresponsivem aterialsthatyou thinkm ightconstituteS S I,and contactinform ationforplaintiff’s
counsel? O nceIhavethatinform ation,Iw illsend you aletterdetailingtherelevantS S Iauthoritiesand theprocessfor
thistypeofS S Ireview ,w ithacopy toplaintiff’scounsel.

Ifyou haveany questions,pleasedon’thesitatetocontactm e. Icanbereached atthenum berlistedbelow .

T hankyou,
Kate


KathleenC.Gannon
Attorney-Advisor
O fficeofChiefCounsel
T ransportationS ecurity Adm inistration
601 S outh12th S treet,E12-414N
Arlington,VA 20598-6002
571-227-4294 (office)
571-227-1380 (fax)

T hiscom m unicationm ightcontaincom m unicationsbetw eenattorney and client,com m unicationsthatarepartoftheagency deliberativeprocess,
orattorney-w orkproduct,allofw hichareprivileged andnotsubjecttodisclosureoutsidetheagency ortothepublic. P leaseconsultw iththeO ffice
ofChiefCounselbeforedisclosing any inform ationcontained inthisem ail.

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From: Stern, Jonathan M. [mailto:JStern@Schnader.com]
Sent: Monday, April 07, 2014 2:56 PM
To: Su, Emily <TSA OCC>
Cc: Kravit, Richard <TSA OCC>
Subject: RE: SSI Review

T hankyou,Em ily.T hedocum entsarem anualprovisionsand trainingdocum ents(P DF,P ow erP oint,and video)thatare
designated asS S I.N oreasonw asgivenby P laintiff’scounselforthecourtorder,buthesaid thathew astoldby
som eonefrom T S A thatacourtorderw asrequired,w hichm adenosensetom e.

Ifyou canprovideinstructions,w ew illsubm itthedocum entsetonaCD forthereview .M y clientw antstoensureit
com pliesw iththeS S Irequirem entsand hasnointerest,onew ay or theother,w hetherT S A approvesdissem inationto
theplaintifforhiscounsel.

T hanksforyourhelp.

Jon

JonathanM .S tern
Counsel,M anaging Attorney,W ashington,DC O ffice
Adm itted inDC,M D,P A,& VA
S chnaderHarrisonS egal& L ew isL L P

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      Case 1:13-cv-01481-AJT-JFA Document 53-7 Filed 07/25/14 Page 16 of 49 PageID# 1110
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750 9 S treet,N W ,S uite550
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301-529-3671
Fax 202.419.4252
 jstern@ schnader.com
w w w .schnader.com




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disclosethecontents,send areply em ailadvisingoftheerror,and deleteallcopiesfrom yourcom putersystem .T hankyou.


From: Su, Emily <TSA OCC> [mailto:emily.su@tsa.dhs.gov]
Sent: Sunday, April 06, 2014 11:07 PM
To: Stern, Jonathan M.
Cc: Kravit, Richard <TSA OCC>
Subject: RE: SSI Review

HiJon,

T hanksforyourem ail. Iw illlikely beoutoftheofficew ithasickchildtom orrow ,butIw illlookintoyourinquiry assoon
asIam able.

Inthem eanw hile,did theplaintiffciteany reasonforw hy T S A w ould needacourtordertoreview S S Idocum ents? Are
thesedocum entslim ited inscopetodocum entsthatexistbetw eenT S A andtheaircarrier? Ifso,Ican’tthinkofany
reasonw hy T S A w ould need acourtordertoreview them . Evenifthey areproprietary S S Idocum entsthattheair
carriercreated,ifbothpartiesagreetosubm ittothereview (orifthey arerelated tocom pliance),T S A w ould notneed a
courtorder. P erhapsI’m m issingsom ething?

Feelfreetoem ailm eany additionalinform ationyou thinkm ightbehelpful. O nceIhavem oreinform ation,I’llcheck
w ithafew ofourotherofficestoconfirm ourthinking.

Em ily H. Su
Assi stant Ch i
              e f Counse l, Ci
                             vilEnforce m e nt
Transp ortation Se curi
                      ty Adm i nistrati
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(571) 227-2305

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                                                 n th ise m ai l.


From: Stern, Jonathan M. [mailto:JStern@Schnader.com]
Sent: Saturday, April 05, 2014 7:45 AM
To: Su, Emily <TSA OCC>
Subject: SSI Review

From: Stern, Jonathan M.
Sent: Friday, April 04, 2014 3:05 PM
To: emily.su@tsa.dhs.go
Cc: richard.kravit@tsa.dhs.gov
Subject: SSI Review

Dear Ms. Su:

Richard Kravit, with whom I am at the SMU Air Law Symposium today, recommended that I email you.
                                                                                    3
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I represent an air carrier in litigation in the Eastern District of Virginia. The plaintiff requested production of
documents, many of which are SSI. Both sides are amenable to submitting the withheld documents to TSA for
review to determine whether any of the documents may be produced to plaintiff. Plaintiff's counsel advised me
that he was told TSA will need a court order in order to undertake the review. That struck me as odd, therefore
my conversation with Richard and this email.

Would you please advise whether we may submit the documents to TSA for review without first obtaining a
court order.

Thank you.

Jon

Jonathan M. Stern
Counsel, Managing Attorney, Washington, DC Office
Admitted in DC, MD, PA, & VA
Schnader Harrison Segal & Lewis LLP
750 9th Street, NW, Suite 550
Washington, DC 20001-4534
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                                                      April 7, 2014
Jonathan M. Stern
Direct Dial 202-419-4202
Direct Fax 202-419-4252
E-mail: jstern@schnader.com




          VIA EMAIL – trb@breedenlaw.com
          Thomas R. Breeden, Esq.
          Thomas R. Breeden, PC
          10326 Lomond Drive
          Manassas, Virginia 20109

                    Re:       Chirag Shah v. Southwest Airlines, et al.
                              USDC for the Eastern District of Virginia
                              Civil Action No. 1:13-cv-1481 (AJT/JFA)

          Dear Mr. Breeden:

                          This is in response to your letter dated March 28, 2014, and—as well—addresses
          the issue of review of sensitive security information by the Transportation Security
          Administration and scheduling of depositions.

                           First, the information you provided in your letter allowed Southwest to identify
          the passenger with whom Mr. Shah spoke on Flight 382. As a compromise of Mr. Shah’s request
          for the entire passenger manifest, Southwest will provide name and telephone number. The
          passenger is Stephen                                      , and his telephone number is
                . I called Mr.          to advise him to expect a call and to ensure that he did not have any
          major objection to disclosure.

                          Second, my contact at the Transportation Security Administration questions the
          need for a court order to initiate review of Southwest’s sensitive security information. She is
          confirming the information, after which we will submit the withheld SSI documents for the
          review. I will keep you apprised and let you know if, contrary to initial indications, the court
          order is necessary.

                         Third, you have indicated that you would like to take depositions of the captain
          and A and C flight attendants in Phoenix on April 25. I have an important social engagement in
          Baltimore that afternoon and evening and ask, therefore, that you propose other dates.
Case 1:13-cv-01481-AJT-JFA Document 53-7 Filed 07/25/14 Page 20 of 49 PageID# 1114



  Thomas R. Breeden, Esq.
  April 7, 2014
  Page 2


                 Fourth, from the dates you provided for depositions, we wish to schedule the
  depositions of Charlotte Bryan and Mr. Shah for April 23rd. My suggestion is that we schedule
  one in the morning and one in the afternoon. I estimate that each will take two hours. Can we
  agree to conduct them in my office?

                  Thank you for your cooperation.

                                                     Sincerely,



                                                 Jonathan M. Stern
                                       For SCHNADER HARRISON SEGAL & LEWIS LLP
Case 1:13-cv-01481-AJT-JFA Document 53-7 Filed 07/25/14 Page 21 of 49 PageID# 1115
Case 1:13-cv-01481-AJT-JFA Document 53-7 Filed 07/25/14 Page 22 of 49 PageID# 1116


                                                                  U.S. Department of Homeland Security
                                                                  Transportation Security Administration
                                                                  Office of Chief Counsel
                                                                  Arlington, Virginia 20598-6002




                                                             April 14, 2014


     VIA ELECTRONIC MAIL

     Jonathan M. Stern
     Schnader Harrison Segal & Lewis LLP
     720 Ninth Street, NW
     Suite 550
     Washington, DC 20001
     jstern@schnader.com

              Re:         Shah v. Southwest Airlines, et al., No. 13-cv-1481 AJT/JFA (E.D. Va.)

     Dear Mr. Stern:

             Thank you for contacting the Transportation Security Administration (“TSA”)
     regarding the discovery requests in the above-referenced matter. You notified TSA of
     Plaintiff’s requests, as required by 49 C.F.R. § 1520.9(a)(3), because the discovery he
     seeks implicates the production of Sensitive Security Information (“SSI”).

             In response to the attacks on the United States on September 11, 2001, Congress
     enacted the Aviation and Transportation Security Act (Pub. L. No. 107-71, 115 Stat. 597
     (2001)), which created in the Department of Transportation (“DOT”) a new
     Transportation Security Administration, centralizing in one agency DOT’s authority for
     security in all modes of transportation. See 49 U.S.C. § 114. When Congress created the
     Department of Homeland Security (“DHS”) through the Homeland Security Act of 2002
     (Pub. L. No. 107-295, 116 Stat. 2064 (2002)), it transferred TSA from DOT to DHS,
     continued its authority to prohibit the disclosure of sensitive information regarding
     transportation security, and provided similar authority to DOT, again as to all modes of
     transportation. See 49 U.S.C. § 40119(b).

             Congress has specifically directed TSA to “prescribe regulations prohibiting the
     disclosure of information obtained or developed in carrying out security . . . if the Under
     Secretary decides that disclosing the information would . . . be detrimental to the security
     of transportation.” 49 U.S.C. § 114(r)(1)(c) (formerly § 114(s)). The statutory and
     regulatory scheme authorizes TSA to determine whether particular material is SSI, and, if
     so, whether and to what extent it may be disclosed. See id.; 49 C.F.R. Part 1520. Such a
     determination constitutes final agency action subject to exclusive review in the United
     States Court of Appeals. 49 U.S.C. § 46110(a); Robinson v. Napolitano, 689 F.3d 888
     Letter to J. Stern
     Page 1 of 3
Case 1:13-cv-01481-AJT-JFA Document 53-7 Filed 07/25/14 Page 23 of 49 PageID# 1117


     (8th Cir. 2012) MacLean v. Dep’t of Homeland Sec., 543 F.3d 1145, 1149 (9th Cir.
     2008); Elec. Privacy Info. Ctr. v. Dep’t of Homeland Sec., 928 F. Supp. 2d 139, 146-47
     (D.D.C. 2013); Chowdhury v. Northwest Airlines Corp., 226 F.R.D. 608, 614 (N.D. Cal.
     2004).

             In accordance with its statutory mandate, TSA adopted regulations regarding the
     protection of SSI. 49 C.F.R. Part 1520. As a general matter, SSI may only be disclosed
     to “covered persons who have a need to know, unless otherwise authorized in writing by
     TSA.” Id. § 1520.9(a)(2); see also U.S.C. § 114(r). For example, SSI may be released to
     individuals or entities (such as air carriers) to “carry out security activities approved,
     accepted, funded, recommended, or directed by DHS or DOT.” 49 C.F.R. §
     1520.11(a)(1). The regulations impose on covered persons an express duty to protect the
     information. See id. § 1520.9. Specifically, the regulations require that such persons
     must “[t]ake reasonable steps to safeguard SSI . . . from unauthorized disclosure,” and
     “[r]efer requests by other persons for SSI to TSA or the applicable component or agency
     within DOT or DHS.” Id. Violation of these and additional non-disclosure requirements
     “is grounds for a civil penalty and other enforcement or corrective action.” Id. § 1520.17.

            According to Southwest’s Objections to Plaintiff Chirag Shah’s First Request for
     Production of Documents and the Privilege Log that you sent to TSA, Plaintiff’s
     discovery requests seek, inter alia:

           all correspondence with the TSA regarding the incidents that form the basis of the
             Complaint;

           training or instruction provided to Southwest Airlines personnel concerning the
             circumstances under which a passenger may be removed from a flight, denied
             boarding, or refused service; and

           policies, procedures, or guidelines regarding the circumstances under which a
            passenger may be removed from a flight, denied boarding, or refused service.1

         As you note in your letter, these discovery requests potentially implicate SSI.
     Security programs, security measures, security training materials, as well as other
     information, constitute SSI. See 49 C.F.R. § 1520.5(b). Such information may not be
     disclosed to unauthorized persons in any way, including via documents or testimony.
     Plaintiff and his attorney are not “covered persons who have a need to know.” Id. §
     1520.9(a)(2); see also id. § 1520.7 (defining “covered persons”). Southwest is prohibited
     from disclosing SSI to Plaintiff and his attorney without TSA’s express authorization. If
     TSA determines that materials responsive to Plaintiff’s discovery requests contain SSI
     and Plaintiff believes that he has a substantial need for that SSI in the preparation of his
     case, his attorney may seek access pursuant to Section 525(d) of the Department of
     Homeland Security Appropriations Act, 2007, Pub. L. 109-295, § 525(d), 120 Stat. 1382
     (Oct. 4, 2006), as reenacted, (“Section 525(d)”). Any such applications should be sent
     directly to me.


     1
       By detailing these specific subject matter areas, TSA in no way implies that other information solicited by
     the discovery requests does not or could not constitute SSI.
     Letter to J. Stern
     Page 2 of 3
Case 1:13-cv-01481-AJT-JFA Document 53-7 Filed 07/25/14 Page 24 of 49 PageID# 1118


             To protect unauthorized disclosure of SSI, while you are preparing your responses
     to these discovery requests (and any additional responses, including responses to
     interrogatories) you should identify responsive portions of any document called for by
     Plaintiff’s requests for production that you believe might constitute SSI and submit it to
     TSA for review. Materials must be submitted in text searchable adobe-pdf format on a
     password protected disk. Submitted documents must also be Bates-stamped and
     accompanied by a manipulable index (excel spreadsheet). TSA security experts will
     review the submitted materials and identify SSI with specificity and redact such
     information where appropriate.

             Due to the significant resources required by such a review, please prioritize
     information as appropriate. TSA will attempt to produce the results of its review on a
     rolling basis, as appropriate. To the extent that there are any relevant litigation deadlines
     or the court rules certain discovery requests inappropriate, please let me know so that
     TSA may efficiently direct its limited resources.

              Thank you for your attention to this matter. If you have any questions about this
     letter or your obligation to protect SSI, please contact me.


                                                           Sincerely,

                                                           //s//

                                                           Kate Gannon
                                                           Attorney-Advisor
                                                           571-227-4294
                                                           kate.gannon@tsa.dhs.gov



     Cc:      Thomas R. Breeden, Esq.
              Thomas R. Breeden, P.C.
              10326 Lomond Drive
              Manassas, Virginia 20109
              trb@tbreedenlaw.com
              Attorney for Plaintiff




     Letter to J. Stern
     Page 3 of 3
Case 1:13-cv-01481-AJT-JFA Document 53-7 Filed 07/25/14 Page 25 of 49 PageID# 1119
Case 1:13-cv-01481-AJT-JFA Document 53-7 Filed 07/25/14 Page 26 of 49 PageID# 1120




                                                 April 17, 2014
  Jonathan M. Stern
  Direct Dial 202-419-4202
  Direct Fax 202-419-4252
  E-Mail: jstern@schnader.com


                                               CONFIDENTIAL

  VIA UPS OVERNIGHT DELIVERY

  Kate Gannon
  Attorney-Advisor
  U.S. Department of Homeland Security
  Transportation Security Administration
  Office of Chief Counsel
  Arlington, Virginia 20598-6002

                      RE:       Shah v. Southwest Airlines, et al., No. 13-cv-1481 AJT/JFA (E.D. Va.)

  Dear Ms. Gannon:

                  In accordance with the directions in your April 14, 2014 letter, a copy of which is
  attached, please find enclosed a DVD that contains a text-searchable Adobe PDF with Bates
  numbering, a corresponding log in Excel format, and two .wmv files, all for SSI review. The
  Excel log and the PDF are in an unencrypted section of the DVD. The PDF is 128-bit encrypted
  and password protected. The two .wmv files are in an area of the DVD protected by 256 bit
  security. I am emailing the password to you.

                      Thank you for your service.

                                                           Sincerely,



                                                           Jonathan M. Stern

  cc:       Thomas R. Breeden, Esq.




                                                                                        PHDATA 4901401_1
Case 1:13-cv-01481-AJT-JFA Document 53-7 Filed 07/25/14 Page 27 of 49 PageID# 1121


                                                                  U.S. Department of Homeland Security
                                                                  Transportation Security Administration
                                                                  Office of Chief Counsel
                                                                  Arlington, Virginia 20598-6002




                                                             April 14, 2014


     VIA ELECTRONIC MAIL

     Jonathan M. Stern
     Schnader Harrison Segal & Lewis LLP
     720 Ninth Street, NW
     Suite 550
     Washington, DC 20001
     jstern@schnader.com

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     Letter to J. Stern
     Page 1 of 3
Case 1:13-cv-01481-AJT-JFA Document 53-7 Filed 07/25/14 Page 28 of 49 PageID# 1122


     (8th Cir. 2012) MacLean v. Dep’t of Homeland Sec., 543 F.3d 1145, 1149 (9th Cir.
     2008); Elec. Privacy Info. Ctr. v. Dep’t of Homeland Sec., 928 F. Supp. 2d 139, 146-47
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           policies, procedures, or guidelines regarding the circumstances under which a
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     (Oct. 4, 2006), as reenacted, (“Section 525(d)”). Any such applications should be sent
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     1
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     Letter to J. Stern
     Page 2 of 3
Case 1:13-cv-01481-AJT-JFA Document 53-7 Filed 07/25/14 Page 29 of 49 PageID# 1123


             To protect unauthorized disclosure of SSI, while you are preparing your responses
     to these discovery requests (and any additional responses, including responses to
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     Plaintiff’s requests for production that you believe might constitute SSI and submit it to
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     or the court rules certain discovery requests inappropriate, please let me know so that
     TSA may efficiently direct its limited resources.

              Thank you for your attention to this matter. If you have any questions about this
     letter or your obligation to protect SSI, please contact me.


                                                           Sincerely,

                                                           //s//

                                                           Kate Gannon
                                                           Attorney-Advisor
                                                           571-227-4294
                                                           kate.gannon@tsa.dhs.gov



     Cc:      Thomas R. Breeden, Esq.
              Thomas R. Breeden, P.C.
              10326 Lomond Drive
              Manassas, Virginia 20109
              trb@tbreedenlaw.com
              Attorney for Plaintiff




     Letter to J. Stern
     Page 3 of 3
Case 1:13-cv-01481-AJT-JFA Document 53-7 Filed 07/25/14 Page 30 of 49 PageID# 1124
       Case 1:13-cv-01481-AJT-JFA Document 53-7 Filed 07/25/14 Page 31 of 49 PageID# 1125


Stern, Jonathan M.

From:                                     Gannon, Kate <TSA OCC> <Kate.Gannon@tsa.dhs.gov>
Sent:                                     Tuesday, April 22, 2014 3:35 PM
To:                                       Stern, Jonathan M.
Cc:                                       trb@tbreedenlaw.com
Subject:                                  RE: Shah v. Southwest Airlines, 13-cv-1481 (E.D. Va.)


Jon,

Today I received the DVD referenced in your April 17, 2014 letter (because of screening procedures for our mail,
sometimes overnight delivery takes a few days). I have submitted the materials on the DVD to our SSI Program Office
for review. Generally, SSI reviews take at least two weeks and often longer depending on the size and type of materials
involved. I will contact you once the SSI review is complete. Please let me know if you have questions or concerns.

Thank you,
Kate

Kathleen C. Gannon
Attorney-Advisor
Office of Chief Counsel
Transportation Security Administration
601 South 12th Street, E12-414N
Arlington, VA 20598-6002
571-227-4294 (office)
571-227-1380 (fax)

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or attorney-work product, all of which are privileged and not subject to disclosure outside the agency or to the public. Please consult with the Office
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reserves the right to exercise all remedies available under the law.




From: Stern, Jonathan M. [mailto:JStern@Schnader.com]
Sent: Thursday, April 17, 2014 3:25 PM
To: Gannon, Kate <TSA OCC>
Cc: trb@tbreedenlaw.com
Subject: RE: Shah v. Southwest Airlines, 13-cv-1481 (E.D. Va.)

Please see attached.

Jonathan M. Stern
Counsel, Managing Attorney, Washington, DC Office
Admitted in DC, MD, PA, & VA
Schnader Harrison Segal & Lewis LLP
     th
750 9 Street, NW, Suite 550
Washington, DC 20001-4534


                                                                           1
     Case 1:13-cv-01481-AJT-JFA Document 53-7 Filed 07/25/14 Page 32 of 49 PageID# 1126
 202.419.4202
301-529-3671
Fax 202.419.4252
 jstern@schnader.com
 www.schnader.com




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disclose the contents, send a reply email advising of the error, and delete all copies from your computer system. Thank you.


From: Gannon, Kate <TSA OCC> [mailto:Kate.Gannon@tsa.dhs.gov]
Sent: Monday, April 14, 2014 3:56 PM
To: Stern, Jonathan M.
Cc: trb@tbreedenlaw.com
Subject: Shah v. Southwest Airlines, 13-cv-1481 (E.D. Va.)

Counsel,

Attached please find a letter from the Transportation Security Administration regarding the above referenced matter.

Best regards,

Kate Gannon


Kathleen C. Gannon
Attorney-Advisor
Office of Chief Counsel
Transportation Security Administration
601 South 12th Street, E12-414N
Arlington, VA 20598-6002
571-227-4294 (office)
571-227-1380 (fax)

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Use, copying, or dissemination of this information by anyone other than the intended recipient may constitute a violation of law. The sender
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                                                                           2
Case 1:13-cv-01481-AJT-JFA Document 53-7 Filed 07/25/14 Page 33 of 49 PageID# 1127
       Case 1:13-cv-01481-AJT-JFA Document 53-7 Filed 07/25/14 Page 34 of 49 PageID# 1128


Stern, Jonathan M.

From:                                 Gannon, Kate <TSA OCC> <Kate.Gannon@tsa.dhs.gov>
Sent:                                 Monday, June 02, 2014 9:52 AM
To:                                   Stern, Jonathan M.
Subject:                              RE: Shah v. Southwest Airlines, 13-cv-1481 (E.D. Va.)


Jon,

The SSI review is taking longer than expected to complete. If there is a specific date by which you need the reviewed
materials, that would be helpful to know so that we can allocate our resources accordingly.

Thank you,
Kate

From :Stern, Jonathan M. [mailto:JStern@Schnader.com]
Sen t
    :Thursday, April 17, 2014 3:26 PM
To:Gannon, Kate <TSA OCC>
Subject:RE: Shah v. Southwest Airlines, 13-cv-1481 (E.D. Va.)

Dear Ms. Gannon:

The password is                                                         .

Thanks,

JonathanM .S tern
Counsel,M anaging Attorney,W ashington,DC O ffice
Adm itted inDC,M D,P A,& VA
Schnader Harrison Segal & Lewis LLP
     th
750 9 Street, NW, Suite 550
Washington, DC 20001-4534
 202.419.4202
301-529-3671
Fax 202.419.4252
 jstern@schnader.com
 www.schnader.com




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disclose the contents, send a reply email advising of the error, and delete all copies from your computer system. Thank you.


From :Gannon, Kate <TSA OCC> [mailto:Kate.Gannon@tsa.dhs.gov]
Sen t
    :Monday, April 14, 2014 3:56 PM
To:Stern, Jonathan M.
Cc:trb@tbreedenlaw.com
Subject:Shah v. Southwest Airlines, 13-cv-1481 (E.D. Va.)

Counsel,

Attached please find a letter from the Transportation Security Administration regarding the above referenced matter.
                                                                  1
    Case 1:13-cv-01481-AJT-JFA Document 53-7 Filed 07/25/14 Page 35 of 49 PageID# 1129

Best regards,

Kate Gannon


Kathleen C. Gannon
Attorney-Advisor
Office of Chief Counsel
Transportation Security Administration
601 South 12th Street, E12-414N
Arlington, VA 20598-6002
571-227-4294 (office)
571-227-1380 (fax)

T hiscom m unicationm ightcontaincom m unicationsbetw eenattorney and client,com m unicationsthatarepartoftheagency deliberativeprocess,
orattorney-w orkproduct,allofw hichareprivileged andnotsubjecttodisclosureoutsidetheagency ortothepublic. P leaseconsultw iththeO ffice
ofChiefCounselbeforedisclosing any inform ationcontained inthisem ail.

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reservestherighttoexerciseallrem ediesavailableunderthelaw .




                                                                   2
Case 1:13-cv-01481-AJT-JFA Document 53-7 Filed 07/25/14 Page 36 of 49 PageID# 1130
       Case 1:13-cv-01481-AJT-JFA Document 53-7 Filed 07/25/14 Page 37 of 49 PageID# 1131


Stern, Jonathan M.

From:                              Stern, Jonathan M.
Sent:                              Monday, June 02, 2014 10:58 AM
To:                                'Thomas R. Breeden Esq. (trb@tbreedenlaw.com)'
Subject:                           FW: Shah v. Southwest Airlines, 13-cv-1481 (E.D. Va.)


Dear Tom:

I received the below this morning. Shall I advise when our final pre-trial date is and ask if they can have it done before
then?

Jon

Jonathan M. Stern
Schnader – DC
202-419-4202

From :Gannon, Kate <TSA OCC> [mailto:Kate.Gannon@tsa.dhs.gov]
Sen t
    :Monday, June 02, 2014 9:52 AM
To:Stern, Jonathan M.
Subject:RE: Shah v. Southwest Airlines, 13-cv-1481 (E.D. Va.)

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Sen t
    :Thursday, April 17, 2014 3:26 PM
To:Gannon, Kate <TSA OCC>
Subject:RE: Shah v. Southwest Airlines, 13-cv-1481 (E.D. Va.)

Dear Ms. Gannon:

The password is [REDACTED].

Thanks,

JonathanM .S tern
Counsel,M anaging Attorney,W ashington,DC O ffice
Adm itted inDC,M D,P A,& VA
Schnader Harrison Segal & Lewis LLP
     th
750 9 Street, NW, Suite 550
Washington, DC 20001-4534
 202.419.4202
301-529-3671
Fax 202.419.4252

                                                              1
    Case 1:13-cv-01481-AJT-JFA Document 53-7 Filed 07/25/14 Page 38 of 49 PageID# 1132
 jstern@schnader.com
 www.schnader.com




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disclose the contents, send a reply email advising of the error, and delete all copies from your computer system. Thank you.


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Sen t
    :Monday, April 14, 2014 3:56 PM
To:Stern, Jonathan M.
Cc:trb@tbreedenlaw.com
Subject:Shah v. Southwest Airlines, 13-cv-1481 (E.D. Va.)

Counsel,

Attached please find a letter from the Transportation Security Administration regarding the above referenced matter.

Best regards,

Kate Gannon


Kathleen C. Gannon
Attorney-Advisor
Office of Chief Counsel
Transportation Security Administration
601 South 12th Street, E12-414N
Arlington, VA 20598-6002
571-227-4294 (office)
571-227-1380 (fax)

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Case 1:13-cv-01481-AJT-JFA Document 53-7 Filed 07/25/14 Page 39 of 49 PageID# 1133
    Case 1:13-cv-01481-AJT-JFA Document 53-7 Filed 07/25/14 Page 40 of 49 PageID# 1134


Stern, Jonathan M.

From:                             Tom <trb@tbreedenlaw.com>
Sent:                             Monday, June 02, 2014 11:02 AM
To:                               Stern, Jonathan M.; Sanjay Sethi; Heather Damewood
Subject:                          Re: Shah v. Southwest Airlines, 13-cv-1481 (E.D. Va.)


Yes. That would probably be good. Thanks

Sent from my iPhone

On Jun 2, 2014, at 10:58 AM, "Stern, Jonathan M." <JStern@Schnader.com> wrote:

       Dear Tom:

       I received the below this morning. Shall I advise when our final pre-trial date is and ask if they can have
       it done before then?

       Jon

       Jonathan M. Stern
       Schnader – DC
       202-419-4202

       From :Gannon, Kate <TSA OCC> [mailto:Kate.Gannon@tsa.dhs.gov]
       Sen t
           :Monday, June 02, 2014 9:52 AM
       To:Stern, Jonathan M.
       Subject:RE: Shah v. Southwest Airlines, 13-cv-1481 (E.D. Va.)

       Jon,

       The SSI review is taking longer than expected to complete. If there is a specific date by which you need
       the reviewed materials, that would be helpful to know so that we can allocate our resources
       accordingly.

       Thank you,
       Kate

       From :Stern, Jonathan M. [mailto:JStern@Schnader.com]
       Sen t
           :Thursday, April 17, 2014 3:26 PM
       To:Gannon, Kate <TSA OCC>
       Subject:RE: Shah v. Southwest Airlines, 13-cv-1481 (E.D. Va.)

       Dear Ms. Gannon:

       The password is [REDACTED].

       Thanks,

       JonathanM .S tern

                                                            1
Case 1:13-cv-01481-AJT-JFA Document 53-7 Filed 07/25/14 Page 41 of 49 PageID# 1135
  Counsel,M anaging Attorney,W ashington,DC O ffice
  Adm itted inDC,M D,P A,& VA
  Schnader Harrison Segal & Lewis LLP
       th
  750 9 Street, NW, Suite 550
  Washington, DC 20001-4534
   202.419.4202
  301-529-3671
  Fax 202.419.4252
   jstern@schnader.com
   www.schnader.com
  <image001.png>

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  computer system. Thank you.


  From :Gannon, Kate <TSA OCC> [mailto:Kate.Gannon@tsa.dhs.gov]
  Sen t
      :Monday, April 14, 2014 3:56 PM
  To:Stern, Jonathan M.
  Cc:trb@tbreedenlaw.com
  Subject:Shah v. Southwest Airlines, 13-cv-1481 (E.D. Va.)

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Case 1:13-cv-01481-AJT-JFA Document 53-7 Filed 07/25/14 Page 42 of 49 PageID# 1136
       Case 1:13-cv-01481-AJT-JFA Document 53-7 Filed 07/25/14 Page 43 of 49 PageID# 1137


Stern, Jonathan M.

From:                              Gannon, Kate <TSA OCC> <Kate.Gannon@tsa.dhs.gov>
Sent:                              Monday, June 02, 2014 11:34 AM
To:                                Stern, Jonathan M.
Cc:                                'Thomas R. Breeden Esq. (trb@tbreedenlaw.com)'
Subject:                           RE: Shah v. Southwest Airlines, 13-cv-1481 (E.D. Va.)


Jon,

Thanks for your response. We will work to provide the reviewed materials to you in advance of the June 19th
conference.

Kate

From :Stern, Jonathan M. [mailto:JStern@Schnader.com]
Sen t
    :Monday, June 02, 2014 11:06 AM
To:Gannon, Kate <TSA OCC>
Cc:'Thomas R. Breeden Esq. (trb@tbreedenlaw.com)'
Subject:RE: Shah v. Southwest Airlines, 13-cv-1481 (E.D. Va.)

Dear Kate:

The final pre-trial conference in the case is June 19th. It would be helpful to all concerned to know before then what will
and will not be available for use at trial.

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Jonathan M. Stern
Schnader – DC
202-419-4202

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Thank you,
Kate

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Sen t
    :Thursday, April 17, 2014 3:26 PM
To:Gannon, Kate <TSA OCC>
Subject:RE: Shah v. Southwest Airlines, 13-cv-1481 (E.D. Va.)
                                                             1
    Case 1:13-cv-01481-AJT-JFA Document 53-7 Filed 07/25/14 Page 44 of 49 PageID# 1138

Dear Ms. Gannon:

The password is your 10-digit telephone number in reverse order.

Thanks,

JonathanM .S tern
Counsel,M anaging Attorney,W ashington,DC O ffice
Adm itted inDC,M D,P A,& VA
Schnader Harrison Segal & Lewis LLP
     th
750 9 Street, NW, Suite 550
Washington, DC 20001-4534
 202.419.4202
301-529-3671
Fax 202.419.4252
 jstern@schnader.com
www.schnader.com




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disclose the contents, send a reply email advising of the error, and delete all copies from your computer system. Thank you.


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Case 1:13-cv-01481-AJT-JFA Document 53-7 Filed 07/25/14 Page 45 of 49 PageID# 1139




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Case 1:13-cv-01481-AJT-JFA Document 53-7 Filed 07/25/14 Page 46 of 49 PageID# 1140
       Case 1:13-cv-01481-AJT-JFA Document 53-7 Filed 07/25/14 Page 47 of 49 PageID# 1141


Stern, Jonathan M.

From:                              Gannon, Kate <TSA OCC> <Kate.Gannon@tsa.dhs.gov>
Sent:                              Wednesday, June 18, 2014 5:27 PM
To:                                Stern, Jonathan M.
Cc:                                'Thomas R. Breeden Esq. (trb@tbreedenlaw.com)'
Subject:                           RE: Shah v. Southwest Airlines, 13-cv-1481 (E.D. Va.)


Jon,

TSA has been working diligently to complete the SSI review for this case in advance of your final pre-trial conference
tomorrow. Despite the agency’s best efforts, at this point it seems unlikely that we will be able to provide you with fully
redacted versions of the SSI documents you submitted by tomorrow morning. We will continue working to complete
the review as soon as possible. Please continue to keep us apprised of any relevant court deadlines, and we will do our
best to accommodate them. Please contact me if you have any questions.

Thank you,
Kate

Kate Gannon
Attorney Advisor
Office of Chief Counsel
Transportation Security Administration
571-227-4294

From :Stern, Jonathan M. [mailto:JStern@Schnader.com]
Sen t
    :Monday, June 02, 2014 11:06 AM
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Subject:RE: Shah v. Southwest Airlines, 13-cv-1481 (E.D. Va.)

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Jon

Jonathan M. Stern
Schnader – DC
202-419-4202

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    :Monday, June 02, 2014 9:52 AM
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Subject:RE: Shah v. Southwest Airlines, 13-cv-1481 (E.D. Va.)

Jon,

                                                             1
    Case 1:13-cv-01481-AJT-JFA Document 53-7 Filed 07/25/14 Page 48 of 49 PageID# 1142
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Counsel,M anaging Attorney,W ashington,DC O ffice
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